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                             SO ORDERED: March 31, 2011.




                             ______________________________
                             Basil H. Lorch III
                             United States Bankruptcy Judge




                         IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                   NEW ALBANY DIVISION

 IN RE:                                           )      Chapter 11
                                                  )
 EASTERN LIVESTOCK CO., LLC,                      )      Case No. 10-93904-BHL-11
                                                  )
                          Debtor.                 )      Hon. Basil H. Lorch III

              ORDER GRANTING TRUSTEE'S MOTION FOR AN ORDER
           ESTABLISHING BAR DATES FOR FILING PROOFS OF CLAIM AND
                    EQUITY INTERESTS, AND APPROVING THE
               PROPOSED FORM AND MANNER OF NOTICE THEREOF

                    This matter came before the Court on the Trustee's Motion For An Order

 Establishing Bar Dates For Filing Proofs Of Claim And Equity Interests, And Approving The

 Proposed Form And Manner Of Notice Thereof ("Motion") filed by James A. Knauer, the

 chapter 11 trustee appointed in this case ("Trustee") on March 17, 2011. In the Motion, the

 Trustee seeks the entry of an order (i) establishing bar dates to file proofs of claim and equity

 interests for all creditors of Eastern Livestock Co., LLC ("Debtor"), including governmental




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 entities and creditors holding Rejection Claims1; and (ii) approving the proposed form and

 manner of notice thereof.

                     Upon the consideration of the Motion, and the objections to the Motion, if any,

 the Court now being duly advised finds that: (i) it has jurisdiction over the matters raised in the

 Motion pursuant to 28 U.S.C. §§ 157 and 1334, (ii) this is a core proceeding pursuant to

 28 U.S.C. § 157(b)(2); (iii) the relief requested in the Motion is in the best interests of the

 Debtor, its estate and its creditors; (iv) proper and adequate notice of the Motion and the hearing,

 if necessary, thereon has been served and that no other or further notice is necessary; and

 (v) upon the record herein after due deliberation thereon good and sufficient cause exists for the

 granting of the relief set forth herein. Accordingly,

                     IT IS HEREBY ORDERED that:

                     A.       The Motion is hereby GRANTED consistent with this Order and any

 objections thereto are hereby overruled.

                     B.       Pursuant to section 105(a) of the Bankruptcy Code and Bankruptcy Rule

 3002(c)(3), all persons and entities including, without limitation, individuals, partnerships, joint

 ventures, corporations, estates, or trusts holding or wishing to assert a "claim," as defined in

 11 U.S.C. § 101(5), or an equity interest as defined in 11 U.S.C. § 101(16), including claims

 entitled to administrative expense priority pursuant to 11 U.S.C. § 503(b)(9), arising prior to the

 Petition Date or deemed to have arisen prior to the Petition Date pursuant to section 501(d) of the

 Bankruptcy Code against the Debtor are required to file with the Claims Agent or by use of the

 CM/ECF filing system on or before 11:59 p.m. (prevailing Eastern Time) on May 2, 2011 ("Bar

 Date"), a completed and executed proof of claim (conforming substantially to Official Form No.


 1
     All capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the Motion.
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 10) ("Proof of Claim") on account of any claims or equity interests such creditors hold or wish to

 assert against the Debtor; except that proofs of claim are not required to be filed at this time by

 creditors holding or wishing to assert claims or interests against the Debtor of the types set forth

 in clauses (i) through and including (v), below:

                        i.      Any person or entity that has already properly filed with the Clerk
                                of the United States Bankruptcy Court for the Southern District of
                                Indiana a proof of claim against the Debtor utilizing a claim form
                                substantially in conformity with Official Form No. 10;

                        ii.     Any person or entity (i) whose claim or equity interest is listed on
                                the Schedules or any amendments thereto; (ii) whose claim or
                                equity interest is not listed as "disputed," "contingent," or
                                "unliquidated," and (iii) who does not dispute the amount,
                                classification or nature of the claim or equity interest for such
                                person or entity as set forth in the Schedules or any amendments
                                thereto;

                        iii.    Any person or entity that holds a claim that has been allowed by an
                                order of this Court entered on or before the applicable Bar Date;

                        iv.     Holders of claims or equity interests that have been paid in full
                                prior to the applicable Bar Date; and

                        v.      Persons or entities who waived their claims or equity interests
                                pursuant to stipulations or orders of the Court.

                C.      All persons and entities wishing to assert a claim arising from the

 postpetition rejection of a contract or lease by the Trustee must file a separate, completed and

 executed proof of claim on account of this type of claim before the later of (i) the Bar Date and

 (ii) thirty (30) calendar days following the entry of the order authorizing rejection of an

 executory contract or unexpired lease under section 365 of the Bankruptcy Code ("Rejection

 Claim Bar Date").

                D.      Any governmental unit holding or wishing to assert a "claim," as defined

 in 11 U.S.C. § 101(5), arising prior to the Petition Date or deemed to have arisen prior to the

 Petition Date pursuant to Section 501(d) of the Bankruptcy Code against the Debtor is required
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 to file on or before 11:59 p.m. (prevailing Eastern Time) on June 30, 2011 ("Governmental Bar

 Date" and together with the Bar Date and the Rejection Claim Bar Date, the "Bar Dates"), a

 separate, completed and executed Proof of Claim on account of any claims such creditors hold or

 wish to assert against the Debtor.

                E.      Notwithstanding the foregoing regarding an 11:59 p.m. (prevailing Eastern

 Time) filing deadline, filings made in a fashion other than through CM/ECF must be actually

 received by the Claims Agent on or before 11:59 p.m. (prevailing Eastern Time) on the

 applicable Bar Date.

                F.      The Bar Date Notice, substantially in the form attached to this Order as

 Exhibit 1, is hereby approved.

                G.      Within five (5) days after the date of this Order, the Trustee shall cause

 copies of the Bar Date Notice and the Proof of Claim Form to be mailed by first class United

 States mail, postage prepaid, to the following:

                        i.      All parties listed on Debtor's Master Creditor List, which includes
                                all known holders of claims and interests and their counsel (if
                                known);

                        ii.     All federal, state, and local taxing authorities for jurisdictions in
                                which the Debtor has conducted business;

                        iii.    Parties to any litigation that was pending as of the Petition Date
                                and any party that has filed a motion to lift the automatic stay;

                        iv.     All persons and entities requesting notice pursuant to Bankruptcy
                                Rule 2002 as of the date of this Order;

                        v.      The Office of the United States Trustee for Region 10; and

                        vi.     The Internal Revenue Service.
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 The Trustee, however, is not required to mail a Bar Date Notice to any creditor or entity where

 prior mailings have been returned to the Trustee as non-deliverable with no forwarding or

 alternate address.

                H.      In accordance with Bankruptcy Rules 2002(a)(7) and 9008, service of the

 Bar Date Notice and Proof of Claim Form in the manner set forth above shall be deemed good

 and sufficient notice of the Bar Dates to all creditors.

                I.      Any holder of a claim or equity interest against Debtor who is required,

 but fails, to file a proof of claim or interest in accordance with this Order so as to be actually

 received on or before 11:59 p.m. (prevailing Eastern Time) on the applicable Bar Date shall be

 forever barred, estopped, and enjoined from asserting such claim or interest against Debtor (or

 filing a proof of claim or interest with respect thereto), and the Debtor and its property shall be

 forever discharged from any and all indebtedness or liability with respect to such claim or

 interest, and such holder shall not be permitted to vote on any plan of reorganization or

 participate in any distribution in the Chapter 11 Case on account of such claim or interest or to

 receive further notices regarding such claim or interest.

                J.      Subject to Paragraph E of this Order, for any proof of claim to be timely

 filed pursuant to this Order, it must be ACTUALLY FILED OR RECEIVED by the Claims

 Agent on or before 11:59 p.m. (prevailing Eastern Time) on the applicable Bar Date at one of the

 addresses listed below. Proofs of claim shall be deemed filed only when ACTUALLY FILED

 WITH THE COURT'S CM/ECF SYSTEM OR RECEIVED, with original signatures and not

 by facsimile or electronic mail, by the Claims Agent at one of the following addresses:
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        By mail:                                      By hand or overnight delivery:

        BMC Group, Inc.                               BMC Group, Inc.
        Attn: Eastern Livestock Claims Processing     Attn: Eastern Livestock Claims Processing
        PO Box 3020                                   18750 Lake Drive East
        Chanhassen, MN 55317-3020                     Chanhassen, MN 55317

                   K.   A creditor must file all claims or equity interests it holds against the

 Debtor on a single Proof of Claim and shall not file multiple proofs of claim.

                   L.   The provisions of this Order apply to all prepetition claims or equity

 interests, as those terms are defined in 11 U.S.C. § 101, of whatever character against Debtor or

 its assets.

                   M.   Nothing contained herein shall be construed to impair the Trustee's rights

 to dispute any claim. Further, the filing of a proof of claim shall not create an immediate right to

 payment.

                                               ###
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                                    Exhibit 1
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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

 IN RE:                                            )       Chapter 11
                                                   )
 EASTERN LIVESTOCK CO., LLC,                       )       Case No. 10-93904-BHL-11
                                                   )
                        Debtor.                    )       Hon. Basil H. Lorch III

   ORDER AND NOTICE OF DEADLINE FOR THE FILING OF PROOFS OF CLAIM
          AND EQUITY INTERESTS AGAINST THE DEBTOR AND OF
                PROCEDURE TO FILE PROOFS OF CLAIM

 Bar Date for Prepetition Claims or Equity Interests: 11:59 p.m. (prevailing Eastern Time) on
 May 2, 2011. See below regarding claims filed in a manner other than with CM/ECF.

 Bar Date for Rejection Claims: Later of (i) 11:59 p.m. (prevailing Eastern Time) on May 2,
 2011, and (ii) thirty (30) days following the entry of an order authorizing rejection of an
 executory contract or unexpired lease under Section 365 of the Bankruptcy Code. See
 below regarding claims filed in a manner other than with CM/ECF.

 Bar Date for Prepetition Claims of Governmental Entities: 11:59 p.m. (prevailing Eastern
 Time) on June 30, 2011. See below regarding claims filed in a manner other than with
 CM/ECF.

 IF YOU HAVE ALREADY PROPERLY FILED A PROOF OF CLAIM, YOU DO NOT
 NEED TO RE-FILE UNLESS YOU HAVE OTHER CLAIMS.

                  PLEASE TAKE NOTICE that on December 6, 2010 ("Petition Date"), certain
 petitioning creditors commenced the above-captioned chapter 11 case ("Chapter 11 Case")
 against the above-captioned debtor and debtor in possession ("Debtor") by filing an involuntary
 petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.
 ("Bankruptcy Code") in the United States Bankruptcy Court for the Southern District of Indiana,
 New Albany Division ("Court"). Pursuant to an Order [Docket #102] entered by the Court on
 December 27, 2010, James A. Knauer was appointed as the chapter 11 trustee in this case
 ("Trustee").

 Bar Date for Creditors Other Than Governmental Entities:

                PLEASE TAKE FURTHER NOTICE that the Court has entered an order dated
 March 30, 2011 ("Bar Date Order"), requiring all persons and entities, EXCEPT THOSE
 PERSONS AND ENTITIES DESCRIBED IN PARAGRAPHS "2(a)" THROUGH "2(e)"
 BELOW, wishing to assert a claim or equity interest against the Debtor, including claims entitled
 to administrative expense priority pursuant to 11 U.S.C. § 503(b)(9), that arose prior to the
 Petition Date to file a complete and duly executed proof of claim form on account of such claim
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 so that it is actually received NO LATER THAN 11:59 p.m. (prevailing Eastern Time) on May
 2, 2011 ("Bar Date") at one of the addresses set forth below or via the Court's CM/ECF system:

        By mail:                                     By hand or overnight delivery:

        BMC Group, Inc.                              BMC Group, Inc.
        Attn: Eastern Livestock Claims Processing    Attn: Eastern Livestock Claims Processing
        PO Box 3020                                  18750 Lake Drive East
        Chanhassen, MN 55317-3020                    Chanhassen, MN 55317

 Notwithstanding the foregoing, filings made in a fashion other than through CM/ECF must be
 actually received by the Trustee's claims agent, The BMC Group, Inc. ("Claims Agent") on or
 before 11:59 p.m. (prevailing Eastern Time) on the applicable Bar Date.

 Rejection Claim Bar Date

               PLEASE TAKE FURTHER NOTICE that pursuant to the Bar Date Order, all
 persons and entities wishing to assert a claim arising from the rejection of an executory contract
 or unexpired lease under section 365 of the Bankruptcy Code ("Rejection Claims") must file a
 complete and duly executed proof of claim form on account of such claim so that it is actually
 received NO LATER THAN the later of (i) 11:59 p.m. (prevailing Eastern Time) on May 2,
 2011 and (ii) thirty (30) days following the entry of the order authorizing rejection of an
 executory contract or unexpired lease under section 365 of the Bankruptcy Code ("Rejection
 Claim Bar Date") one of the addresses set forth below or via the Court's CM/ECF system:

        By mail:                                     By hand or overnight delivery:

        BMC Group, Inc.                              BMC Group, Inc.
        Attn: Eastern Livestock Claims Processing    Attn: Eastern Livestock Claims Processing
        PO Box 3020                                  18750 Lake Drive East
        Chanhassen, MN 55317-3020                    Chanhassen, MN 55317

 Notwithstanding the foregoing, filings made in a fashion other than through CM/ECF must be
 actually received by the Claims Agent on or before 11:59 p.m. (prevailing Eastern Time) on the
 applicable Bar Date.

 Bar Date for Governmental Entities:

                  PLEASE TAKE FURTHER NOTICE that pursuant to the Bar Date Order, all
 governmental units wishing to assert a claim against the Debtor that arose prior to the Petition
 Date must file a complete and duly executed proof of claim form on account of such claim so
 that it is actually received NO LATER THAN 11:59 p.m. (prevailing Eastern Time) on June 30,
 2011 ("Governmental Bar Date" and together with the Bar Date, "Bar Dates") at one of the
 addresses set forth below or via the Court's CM/ECF system:




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        By mail:                                     By hand or overnight delivery:

        BMC Group, Inc.                              BMC Group, Inc.
        Attn: Eastern Livestock Claims Processing    Attn: Eastern Livestock Claims Processing
        PO Box 3020                                  18750 Lake Drive East
        Chanhassen, MN 55317-3020                    Chanhassen, MN 55317

 Notwithstanding the foregoing, filings made in a fashion other than through CM/ECF must be
 actually received by the Claims Agent on or before 11:59 p.m. (prevailing Eastern Time) on the
 applicable Bar Date.

           NOTICE IS FURTHER GIVEN THAT IF YOU ARE REQUIRED TO FILE
 A PROOF OF CLAIM OR EQUITY INTEREST AND FAIL TO DO SO IN THE
 MANNER PRESCRIBED, YOU SHALL BE FOREVER BARRED FROM VOTING
 UPON, OR RECEIVING DISTRIBUTIONS UNDER, ANY PLAN OR PLANS OF
 REORGANIZATION OR LIQUIDATION FOR THE DEBTOR, AND SHALL BE
 FOREVER BARRED FROM ASSERTING ANY SUCH CLAIM OR INTEREST
 AGAINST THE DEBTOR OR ITS SUCCESSORS OR ASSIGNS.

       THE INFORMATION PROVIDED BELOW IS FOR YOUR CONVENIENCE
 ONLY AND SHOULD IN NO WAY BE CONSTRUED AS LEGAL ADVICE. YOU
 SHOULD CONSULT AN ATTORNEY REGARDING THE MATTERS SET FORTH IN
 THIS NOTICE.

 1.      WHAT IS A CLAIM?

               Under section 101(5) of the Bankruptcy Code and as used herein, the term
 "claim" means (a) right to payment, whether or not such right is reduced to judgment, liquidated,
 unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal equitable,
 secured or unsecured; or (b) right to an equitable remedy for breach of performance if such
 breach gives rise to a right to payment, whether or not such right to an equitable remedy is
 reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or
 unsecured. You should consult an attorney if you are unsure if you have a claim.

 2.   WHO DOES NOT NEED TO FILE A PROOF OF CLAIM OR EQUITY
 INTEREST AT THIS TIME

                 Pending further order of the Court, the following persons or entities are NOT
 required to file a proof of claim or interest on or before the applicable Bar Date with respect to
 any claim of the type set forth below:

                   a.   any person who or entity that has already properly filed with the Clerk of
                        the United States Bankruptcy Court for the Southern District of Indiana a
                        proof of claim or equity interest against the Debtor in the form and manner
                        required by Bankruptcy Rules 3003 and 9009 and substantially
                        conforming to Official Form No. 10;


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                 b.     Any person or entity (i) whose claim or equity interest is listed on the
                        Debtor's schedules of assets and liabilities ("Schedules") or any
                        amendments thereto; (ii) whose claim or equity interest is not listed as
                        "disputed," "contingent," or "unliquidated," and (iii) who does not dispute
                        the amount, classification or nature of the claim or equity interest for such
                        person or entity as set forth in the Schedules or any amendments thereto;

                 c      Any person or entity that holds a claim or equity interest that has been
                        allowed by an order of this Court entered on or before the applicable Bar
                        Date;

                 d.     Persons or entities whose claims or equity interests have been paid in full
                        by the Debtor prior to the applicable Bar Date; and

                 e.     Persons or entities who waived their claims or equity interests pursuant to
                        stipulations or orders of the Court.

                  Should the Court, in the future, fix a date by which any of the above persons or
 entities must file a proof of claim, you will be so notified and given the opportunity, if necessary,
 to file a proof of claim. You should consult an attorney if you unsure whether or not you need to
 file a claim or interest.

 3.      WHO MUST FILE A PROOF OF CLAIM

                 You must file a proof of claim if you have a prepetition claim and you are not
 included among the persons and entities listed in paragraph "2" above. In this regard, please note
 that acts or omissions of the Debtor that occurred prior to the Petition Date may give rise to a
 prepetition claim against the Debtor notwithstanding the fact that such claim (or the injuries on
 which they are based) may be contingent or may not have occurred, matured or become fixed or
 liquidated prior to such date. Therefore, any creditor having a prepetition claim or potential
 prepetition claim against the Debtor, no matter how remote or contingent, must file a proof of
 claim on or before the applicable Bar Date. As noted above, proofs of claim will be deemed
 filed only when they are actually filed or received, at the address listed below in paragraph "5."
 You should consult an attorney if you unsure whether or not you need to file a claim or interest.

 4.      PROOF OF CLAIM FORMS

                If you are listed on the Schedules, you may have already received a notice of the
 case and a proof of claim form(s) and instructions explaining the procedures for completing and
 filing the proof of claim form. Please take note that any proof of claim filed shall substantially
 conform to Official Form No. 10 (which is incorporated into and made a part of the Bankruptcy
 Rules). A proof of claim form and instructions are included with this Bar Date Notice.

 5.      WHEN AND WHERE TO FILE

               All proofs of claim or interests must be filed electronically via the Court's
 CM/ECF system or by mailing, by hand, courier or overnight delivery of the original signed of
 such proof of claim so that it is actually received NO LATER THAN 11:59 p.m. (prevailing


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 Eastern Time) on either the Bar Date, the Rejection Claim Bar Date or the Governmental Bar
 Date, respectively, at one of the following addresses or via the Court's CM/ECF system:

        By mail:                                     By hand or overnight delivery:

        BMC Group, Inc.                              BMC Group, Inc.
        Attn: Eastern Livestock Claims Processing    Attn: Eastern Livestock Claims Processing
        PO Box 3020                                  18750 Lake Drive East
        Chanhassen, MN 55317-3020                    Chanhassen, MN 55317

 Notwithstanding the foregoing, filings made in a fashion other than through CM/ECF must be
 actually received by the Claims Agent on or before 11:59 p.m. (prevailing Eastern Time) on the
 applicable Bar Date. Proof of Claim forms shall not be accepted via facsimile or electronic mail.

 6.      COPIES OF DOCUMENTS AND ACCESS THERETO

                Copies of documents filed in the chapter 11 case are available online via the
 Court's CM/ECF system (PACER account required and a fee may be charged per page) or may
 be inspected during regular business hours at the Office of the Clerk, United States Bankruptcy
 Court for the Southern District of Indiana, 110 U.S. Courthouse, 121 West Spring Street, New
 Albany, IN 47150.

 7.      DISCLAIMER

 Please keep in mind that the filing of a Proof of Claim does not entitle you to payment. The
 Trustee reserves all rights to contest claims.

 QUESTIONS CONCERNING THIS NOTICE SHOULD BE DIRECTED TO THE BMC
 GROUP, INC. AT (888) 909-0100.

 CLAIMANTS SHOULD CONSULT WITH AN ATTORNEY REGARDING THEIR
 RIGHTS AND RESPONSIBILITIES OF ASSERTING AND FILING CLAIMS.



 Dated: March 30, 2011                /s/ Kevin P. Dempsey
                                      Clerk, United States Bankruptcy Court
 Indianapolis, Indiana




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